Case 1:08-cv-23549-A.] Document 1 Entered on FLSD Docket 12/29/2008 Page 1 of 5

UNITED STATES DlSTRlCT COURT
SOUTHERN DISTRICT OF FLORIDA

MIAMI DIVISION

CASE NO.

 

HOLLY SMOLNIKAR, individually,

Plaintiff,

VS.

ROYAL CARIBBEAN CRUISES, LTD.,
a Liberian corporation and CHUKKA
CARJBBEAN ADVENTURES CORP.,

a Florida corporation,

Defendants.

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COMPLAINT

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COMES NOW, HOLLY SMOLNIKAR, the Plaintiff, by and through the

undersigned counsel, and hereby alleges the following on information and belief:

l. That at all times hereinafter mentioned, the

FIRST CAUSE OF ACTION

Plaintiff, HOLLY

SMOLNIKAR, Was a citizen of the United States and is a resident of California and files

this Complaint for Damages in an amount in excess of $75,000, exclusive of any fees and

court costs. This Honorable Coun possesses jurisdiction over the instant matter pursuant to

the issued ticket by Defendants containing a venue clause Which requires that all disputes

and matters arising out of and in connection with the cruise and travel associated With the

ticket be litigated in the United States District Court for the Southern District of Florida, in

Miami and there is complete diversity between the parties, 28 United States District Court,

Section 1332.

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2. That at all times hereinafter mentioned the Defendant, ROYAL
CARIBBEAN CRUISES, LTD., a Liberian corporation, was and is a business entity
engaged in the shipping and passenger cruise business

3. That at all times hereinafter mentioned the Defendant, CHUKKA
CARIBBEAN ADVENTURES CORP., a Florida corporation, was and is a business
entity engaged in recreational activities and events as described herein below.

4. At all times pertinent herein, the Defendant, ROYAL CARIBBEAN
CRUISES, LTD., a Liberian corporation, was and is a corporation engaged in the
shipping and passenger cruise business operated by and/or for the financial interests
and/or benefits of the United States citizens

5. That at all times hereinafter mentioned, the Defendant, ROYAL
CARIBBEAN CRUISES, LTD., a Liberian corporation, owned, operated, and managed
the vessel Liberty of the Seas.

6. That on or about July 29, 2008, the Plaintiff, HOLLY SMOLNIKAR, was
lawfully and properly a passenger on board the vessel Liberty of the Seas.

7. That on July 29, 2008j the Plaintiff, I-IOLLY SMOLNlKAR, was involved
in a serious zip line incident while she was a customer on an excursion operated and
controlled by the Defendant, CHUKKA CARIBBEAN ADVENTURES CORP., a
Florida corporation, which was booked through Defendant, ROYAL CARIBBEAN
CRUISES, LTD., a Liberian corporation

8. At all times material, Defendants owed Plaintiff a duty to exercise
reasonable care in all the circumstances, including following Safety measures while

Plaintiff participated in said excursion.

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9. That on or about July 29, 2008, while the Plaintiff was lawfully and
properly participating in said zip line excursion, as aforesaid, she was caused to suffer
serious injuries to her persons by reason of the negligence and breach of duty of care of
the Defendant Specifically, Defendant, ROYAL CARIBBEAN CRUISES, LTD., a

Liberian corporation was negligent in at least one of the following:

a) in not providing the Plaintiff a safe landing from her zip line ride;
b) in engaging in unsafe safety procedures
c) in failing to warn Plaintiff of such danger, Which was actually

known to Defendant and/or their agents;
d) in creating, causing, and permitting the premises to come be
and remain in an unreasonably dangerous, defective, and unsafe
condition, in knowing of the same, having an ample opportunity to
correct it yet failing to do so; and
e) failure to investigate and make due diligence in investigating
CI-IUKKA CARIBBEAN ADVENTURES CORP. for its
operational practices and procedures
lO. That on or about July 29, 2008, while the Plaintiff was lawfully and
properly participating in Said zip line excursion, as aforesaid, she was caused to suffer
serious injuries to her persons by reason of the negligence and breach of duty of care of

the Defendant. Specifically, Defendant, CHUKKA CARIBBEAN ADVENTURES

CORP., a Florida corporation was negligent in at least one of the following:

a) in not providing the Plaintiff a safe landing from her zip line ride;
b) in engaging in unsafe Safety procedures
c) in failing to warn Plaintiff of such danger, which was actually

known to Defendant and/or their agents;

d) in creating, causing, and permitting the premises to come be
and remain in an unreasonably dangerous, defective, and unsafe

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ll.

condition, in knowing of the same, having an ample opportunity to
correct it yet failing to do so.

That the aforesaid conduct of the Defendants was the proximate cause of

the injuries suffered by the Plaintiff, HOLLY SMOLNIKAR.

12.

damages:

13.

That by reason of the foregoing, the Plaintiff sustained the following

Bodily injuries; specifically, cervical fusion of the spinal cord;
Resulting pain and suffering;

Pennanent disability;

Disfigurement and scarring;

Mental anguish;

Loss of the capacity for the enjoyment of life;
Expenses of hospitalization;

Meclical nursing care and treatment;

Loss of earnings;

Loss of the ability to earn money; and/or
Aggravation of a previously existing injury;

These losses are either permanent or continuing and Plaintiff, HOLLY

SMOLNIKAR, will suffer the losses in the future.

JURY TRIAL DEMANDED

Plaintiff demands a trial by jury on all issues so triable as a matter of right.

Respectfully Subrnitted,

THE COCHRAN FIRM
Attorneys for Plaintiff
2541 SW 27 Avenue
Miami, Florida 33133

Tele - \ne: (305) 567-1200

  

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DEFENDANTS ,2:

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County of Residence of First Listed Defendant
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